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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                AT BOWLING GREEN


UNITED STATES OF AMERICA                                                                PLAINTIFF

vs.                                                                         NO. 1:20MJ-45-HBB

BARRET LAWRENCE                                                                    DEFENDANT



                                            ORDER

       This matter is before the Court on motion of the United States of America for leave to file

a Motion for Leave to File a Redacted Criminal Complaint Affidavit and for Protective Order

under seal. IT IS ORDERED that the motion is GRANTED.



      May 11, 2020




                                                               ENTERED
                                                           VANESSA L ARMSTRONG, CLERK

                                                               May 11, 2020

                                                             U.S. DISTRICT COURT
                                                         WESTERN DISTRICT OF KENTUCKY
